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                            CERTIFICATE OF SERVICE

       I, David T. Crumplar, hereby certify that, on this 2nd day of November 2023, and in

addition to the service provided under the Court’s CM/ECF system, I caused copies of the

foregoing Motion to Seal Exhibits Attached to Motion Change Election to Opt Into Expedited

Payment/Convenience Class (D.I. 11574) to be served upon the parties listed on the attached

service list by email.

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